                  Case 1:15-mc-00002 Document 3 Filed 03/21/19 Page 1 of 2
                                                                                     FILED
                                                                                        Clerk
                                                                                    District Court
 1                          IN THE UNITED STATES DISTRICT COURT
                                                                         MAR 21 2019
                            FOR THE NORTHERN MARIANA ISLANDS
 2                                                              for the Northern Mariana Islands
                                                                By________________________
 3                                             Case No. 1:19-MC-00001 (Deputy Clerk)

 4                                                       ORDER
       IN RE: SEALED CRIMINAL CASES
 5

 6
             FOR CAUSE SHOWN by the United States (Response, Mar. 15, 2019, ECF No. 4), the
 7
     following twenty-eight cases are hereby unsealed. The Clerk or her designee is ordered to file a
 8
     copy of this order in each case listed and unseal the record.
 9
                1) 1:12-cr-00027-1
10              2) 1:12-cr-00038-1
                3) 1:12-mc-00032
11              4) 1:12-mc-00038
                5) 1:13-mc-00044
12              6) 1:13-mc-00048
                7) 1:13-mc-00051
13              8) 1:13-mc-00066
                9) 1:14-mc-00009
14              10) 1:14-mc-00012
                11) 1:14-mc-00013
15              12) 1:14-mc-00017
                13) 1:14-mc-00025
16              14) 1:14-mc-00039
                15) 1:14-mc-00040
17              16) 1:14-mc-00041
                17) 1:15-mc-00002
18              18) 1:16-mc-00007
                19) 1:16-mc-00012
19              20) 1:16-mc-00016
                21) 1:16-mc-00018
20              22) 1:16-mc-00021
                23) 1:16-mc-00027
21              24) 1:16-mc-00028
                25) 1:17-mc-00003
22              26) 1:17-mc-00004
                27) 1:17-mc-00011
23              28) 1:17-mc-00044

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          Case 1:15-mc-00002 Document 3 Filed 03/21/19 Page 2 of 2




 1   The following fourteen cases shall remain under seal until further order of the Court:

 2      1) 1:15-mc-00016
        2) 1:15-mc-00029
 3      3) 1:16-mc-00001
        4) 1:16-mc-00015
 4      5) 1:16-mc-00022
        6) 1:16-mc-00029
 5      7) 1:16-mc-00033
        8) 1:16-mc-00036
 6      9) 1:16-mc-00037
        10) 1:17-mc-00004-1
 7      11) 1:17-mc-00012-1
        12) 1:17-mc-00013-1
 8      13) 1:17-mc-00021
        14) 1:17-mc-00030
 9
     SO ORDERED this 21st day of March, 2019.
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                                                  ____________________________________
12                                                RAMONA V. MANGLONA
                                                  Chief Judge
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